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UNITED STATES DISTRICT COURT
for the JUL -9 2018
Northern District of Texas

 

 

 

 

CLERK, U.S. DIST OURT
In the Matter of the Search of By ( " ye
(Briefly describe the property to be searched Deputy
Case No. = P|

or identify the person by name and address)
APPLICATION FOR A SEARCH WARRANT

 

2217 Cedar Crest Blvd, Dallas, TX 75203

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

(See Attachment A-2).

located inthe . Northern District of Texas , there is now concealed (identify the
person or describe the property to be seized):

(See Attachment B).

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
WM evidence of a crime;
A contraband, fruits of crime, or other items illegally possessed;
& property designed for use, intended for use, or used in committing a crime;
© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
26 U.S.C. §§ 7201 and 7206 ~— Tax Fraud

(1)

The application is based on these facts:

a Continued on the attached sheet.

O Delayed notice of _ days (give exact ending date if more than 3) days:
under 18 U.S.C. § 3103a, the basis of which is set forth on the attaghed sheet.

    
  

) is requested

Sworn to before me and signed in my presence.

Date: 9 dD %

City and state: Dallas, Texas

 

 
 

[ Mudge SSignaure —_)

= HARRIS TOWER, U.S. MAGISTRATE JUDGE

Printed name and title
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 2of39 PagelD 273

AFFIDAVIT
I, Alan Hampton, being duly sworn, do state as follows:
PREFACE

1. This affidavit is made to support a search warrant for the residence/business, 1934
Argyle Avenue, Dallas, TX 75203 and the Caraway Campaign Headquarters
office (listed as a business location on the 2013 Caraway US Individual Income
Tax Return Schedule C portion - Dwaine Caraway Advertising and Consulting)

~ address of 2217 Cedar Crest Blvd., Dallas, TX 75203. Dwaine Caraway
(Caraway) was an elected Dallas City Council Member until term limits forced
him out of office in 2015. He was re-elected in 2017. He also served as Mayor
Pro Tem of Dallas in 2011, and serves in the same capacity currently. Caraway
formed Dwaine Caraway Advertising and Consulting, LLC in June 2012 and
began receiving payments from ELF Investments at or around the same time.
Caraway received over $400,000 in payments and according to his tax returns only
reported $240,000 in gross income from 2012 through 2015.

2. Based on my training, experience, and the information contained in the subsequent
paragraphs, I believe there is probable cause that Caraway filed false tax returns
and evaded US Individual Income Tax for the years 2012 through 2017 and that
evidence related to Caraway’s evasion of income tax scheme will be found at the

above-referenced locations, and in support, I allege the following:

Search Warrant Affidavit — Page 1
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 3of39 PagelD 274

INTRODUCTION

3. Tama Special Agent (SA) with the Internal Revenue Service, Criminal
Investigation (CI), United States Department of the Treasury. I am assigned to the
Dallas, Texas office and have been employed in this capacity since July 1991. My
responsibilities include the investigation of possible criminal violations of the
Internal Revenue Laws (Title 26, United States Code), the Bank Secrecy Act (Title
31, United States Code), the Money Laundering Control Act (Title 18, United
States Code), and other related offenses. I am currently assigned to the Internal
Revenue Service-Financial Crimes Investigative Task Force in Irving, Texas. Our
mission is to identify and investigate possible money laundering and bank secrecy
violations, specifically, violations of 18 U.S.C. §§ 1956, 1957, and 1960 and 31
U.S.C. §§ 5316, 5324, and 5330.

4. Ihave conducted, and assisted in conducting, numerous investigations involving
allegations of one or more of the aforementioned financial crimes. I have also
served as the affiant for several search and seizure warrants in prior financial
investigations.

26 U.S.C. § 7201 (Attempt to Evade or Defeat Taxes)

5. Section 7201 makes it a crime to willfully attempt in any manner to evade or
defeat any tax under the Internal Revenue Code. To establish liability for tax
evasion, the government must prove the following elements beyond a reasonable

doubt: (1) additional tax due and owing (i.e., the existence of a tax deficiency); (2)

Search Warrant Affidavit — Page 2
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 4of39 PagelID 275

an affirmative act of evasion or affirmative attempt to evade; and (3) willfulness.
An unlawful gain, as well as a lawful one, constitutes taxable income when its
recipient has such control over it that, as a practical matter, he derives readily
realizable economic value from it.

6. Filing a false return is the most common method of attempting to evade the
assessment of a tax.

26 U.S.C. § 7206(1) (Filing False Individual Tax Returns)

7. Section 7206(1) makes it a crime to willfully file false income tax returns. To
convict a defendant for false statement under 26 U.S.C.§ 7206(1), the government
must prove the following elements beyond a reasonable doubt: (1) the defendant
made and subscribed a return, statement, or other document which was false and
the return, statement, or other document contained a written declaration that it was
made under the penalties of perjury; (2) the defendant did not believe the return,
statement, or other document to be true and correct as to every material matter;
and (3) the defendant falsely subscribed to the return, statement, or other
document willfully.

8. Based on my training and experience and that of the other criminal investigators
involved in this investigation, I have found that it is common practice in the
business community for business entities, such as DCAC, to maintain business

records at its place of business for the current year, as well as for an extended

Search Warrant Affidavit — Page 3
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page5of39 PagelD 276

period of time. Finally, IRS Publication 583 advises businesses to keep and
maintain books and records for a time period of three to six years.

9. I know that the aforementioned financial crimes are crimes of concealment,
motivated by profit and greed. As such, individuals engaged in this type of
activity attempt to amass wealth and engage in expenditures in a manner designed
to prevent detection by law enforcement officers.

10. Based on my training, experience and my participation in this investigation and
other investigations involving individuals engaged in tax crimes, I know that
individuals and/or businesses engaged in tax crimes often maintain documents and
financial records for long periods of time, particularly when they are involved in
ongoing criminal conduct over a long period of time. I also know that individuals
and/or businesses keep some, if not all, of their records in electronic form, such as
on a computer. I know that documents and records can be in the form of printed
documents or stored in computer memory or on computer disks or other computer
storage mediums, including cell phones and other “smart” computer devices.

11. There are many reasons why an individual will generally maintain records for long
periods of time. First, the records will often seem innocuous because of their
nature (e.g. financial, credit card and banking documents, travel documents,
receipts, client lists, documents reflecting purchases of assets, personal calendars,
check books, videotapes and photographs, utility records, ownership records,

letters and notes, tax returns and financial records, escrow files, telephone bills,

Search Warrant Affidavit — Page 4
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 6of39 PagelD 277

keys to safe deposit boxes, packaging materials, computer hardware and software).
Second, the individual may no longer realize he still possesses the records or may
believe law enforcement could not obtain a search warrant to seize the evidence.
Third, the individual may also be under the mistaken belief that he has deleted,
hidden or further destroyed computer-related evidence, which in fact, may be
retrievable by a trained forensic computer expert. Fourth, as discussed further
below, a taxpayer is required to maintain tax records for a specified period of time.
Lastly, it is common for individuals to set aside or store such records in various
rooms of the residence or business (for example, records of a home business may
be stored in another room not designated as the home office, such as the garage,
attic, or storage building), and because they generally have no immediate need for
the records, they are often forgotten. To law enforcement, however, all these
items may have significance and relevance when considered in light of other
evidence.
PROPERTY FOR SEARCH
This affidavit is made to obtain a search warrant for the following properties:
1934 Argyle Avenue, Dallas, TX 75203

12.1934 Argyle Avenue is a one-story single-family residence with light colored
brick residence located at the southeast corner of Argyle Avenue and Lanark
Avenue. The residence has a white iron security gate in front of the main door

and has a circular drive through the front yard area. There is white decorative iron

Search Warrant Affidavit — Page 5
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 7of39 PagelD 278

fencing around the entire rear perimeter of the property with a carport visible from
outside the fence area. There is an alley that runs behind the residence. A
photograph of the residence is included in Attachment A. DCAC is located and
registered at this address for the 2012 tax year which was filed on April 15, 2013.
2217 Cedar Crest Blvd, Dallas, TX 75203

13. 2217 Cedar Crest is a one-story strip business sixplex with light colored brick
located on the west side of Cedar Crest Blvd between Bonnie View Road on the
north side and Surrey Avenue on the south side. It’s the third storefront from the
right or fourth from the left. The business has a white iron security gate in front of
the main door and white iron burglar bars over the storefront glass window. There
is a large blue sign that says DWAINE CARAWAY District 4 Neighborhood
Information Center (214) 943-1020 on the storefront. A photograph of the
Campaign Headquarters is included in Attachment A-2. DCAC is located at this
address as Dwaine Caraway Advertising and Consulting on the Dwaine Caraway
US Individual Income Tax Return, specifically on the Schedule C portion which
notates location of the business, for the 2013 tax year which was filed on
February 27, 2017.

[NOTHING FURTHER ON THIS PAGE].

Search Warrant Affidavit — Page 6
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 8of39 PagelD 279

FACTS SUPPORTING PROBABLE CAUSE
Investigative Background

14.I have participated in the investigation of the criminal activity described herein
and have spoken with other agents involved in this and related investigations. I
have also read the reports prepared in connection with this and the related
investigations. I make this affidavit based, in part, on personal knowledge, and in
part upon information and belief, derived from, among other things, oral and
written reports made to me or other agents of the Internal Revenue Service and
agents of the Federal Bureau of Investigation involved in this investigation and
other related investigations. As a result, I am familiar with all aspects of this
investigation. Since this affidavit is being submitted for the limited purpose of
securing a search warrant, I have not included each and every fact known to me
concerning this investigation.

Case Overview

15. The United States Attorney’s Office, Northern District of Texas, and the Federal
Bureau of Investigation (“FBI’’), have an existing criminal investigation of
Caraway and others regarding potential violations of conspiracy to launder money
(18 U.S.C. § 1956(h)), bribery (18 U.S.C. § 666), honest services wire fraud (18
USS.C. §§ 1343 & 1346), and Title 26 tax violations.

16. The investigation involves alleged corruption within the Dallas County Schools, a

governmental entity, including payments made to officials in return for backing

Search Warrant Affidavit — Page 7
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page9of39 PagelD 280

the purchase of a school bus red light monitoring system and also alleged
corruption involving payments to officially influence low income housing
developments. Caraway is one of many co-conspirators that are being investigated
and are involved in the alleged public corruption related offenses.
SCHOOL BUS CAMERA PROGRAM

17. Dallas County Schools’ (“DCS”) primary responsibility is the operation of its
bus system, which transports approximately 75,000 children to and from school

each day for a number of independent school districts located in Dallas County,

Texas, and elsewhere in the State of Texas. DCS is the qth largest pupil

transportation organization in the country.

18.In 2008, DCS issued a Request for Proposal (“RFP”) to find a vendor that could
replace existing technology on DCS buses, and also help DCS deploy a digital
audio/video recording solution that would be upgradable in the future. A
growing trend in the pupil transportation industry at that time was the ability to
issue citations to drivers that illegally passed a school bus once the stop arm was
engaged through the use of video monitoring systems. The standard practice for
similar stop arm camera programs was for the contractor to put cameras on 20-
30% of the stop arms of the buses that traveled routes with the most safety
violations free of charge, then share a percentage of the fines levied with the
school district. DCS’s request was unique in that DCS wanted to outfit all 1900

of its buses with the technology to record and monitor stop arm violations and
Search Warrant Affidavit — Page 8
* Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 10of39 PagelD 281

purchase the equipment to do so outright. Force Multiplier Solutions (“FXS”)
replied to the proposal. FXS is owned and operated by Robert Leonard
(“Leonard”’).

19. In July 2009, DCS agreed to purchase all equipment from FXS. FXS agreed to
install the equipment and software, create an operations center, and oversee all
remote and on-site maintenance required to sustain the school bus monitoring
systems. In September 2011, DCS and FXS officially entered into a one-year
contract that provided both entities the capability of extending the contract
another five years. On November 8, 2011, DCS remitted its initial purchase
order worth approximately $6 million as an advanced partial payment to FXS.
This was followed up on November 9, 2011, by an initial payment by DCS via
check to FXS of approximately $2 million.

20.In July 2012, DCS and FXS agreed to extend their contract for the full five years
outlined in the initial agreement. The exact financial terms of the contracts
signed between DCS and FXS are unknown since the contracts do not explicitly
state the financial obligation to which DCS is agreeing; however, six bonds were
issued and the total amount of the contracts between DCS and FXS appears to be
$70 million.

21.Leonard and others participated in a bribery scheme to have the school bus
camera project funded and then extended. To abet and conceal the scheme,

companies were established with no apparent purpose other than to disguise the

Search Warrant Affidavit — Page 9
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 11of39 PagelD 282

flow of payments from Leonard to the principals responsible for the awarding of
the bus cameras contract. Among these companies was ELF Investments
(“ELF”). ELF was used as a layering corporation to disguise funds paid to
Caraway, as well as DCS’s superintendent, Rick Sorrels, who entered into the
contracts with FXS. ELF was funded by FXS and operated by Slater Swartwood
(“Swartwood”), an FXS employee.

22.In exchange for the payments he received, Caraway voted on ordinances and
authorizations in a way that forwarded FXS’s business interests, pressured the
Dallas City Attorney’s Office to provide a favorable opinion about the propriety
of fines associated with FXS’s stop-arm camera program, and promised to use
his official position if and when necessary to forward Leonard’s efforts to
develop low income housing.
Low Income Housing Kickbacks

23. Under the Low Income Housing Tax Credit program (“LIHTC”), the federal
government allots $9 billion a year in tax credits to state housing agencies based
on state populations. Then the agencies distribute credits to selected housing
developers based on a complex and bureaucratic process. Developers who receive
credits usually sell them to large banks and other investors, often using
syndication firms as intermediaries. This provides cash to developers for
construction and gives investors equity in the projects, as well as credits to use on

their tax returns over a 10 year period.

Search Warrant Affidavit — Page 10
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 12o0f39 PagelD 283

24. The Dallas Land Bank program allows the City of Dallas to seize properties that
are undeveloped or in arrears on back taxes.

25. Once the properties are seized, Dallas makes the properties available for sale to
developers who will in turn develop the properties and sell the housing to
primarily low income families. The tax credits associated with the development
of low income housing are considered to be very valuable. Access to these
properties can be lucrative and are therefore highly sought. Caraway, in return
for cash and other benefits, agreed to provide official support to potential

developers of low income housing in the City of Dallas.

Undercover Agent

26. An FBI undercover agent (“UCA”) posed as an interested developer for low
income housing and met with Caraway at Campaign HQ in January, March, and
May of 2017. The UCA described Campaign HQ as a two room office space
with a desk in the front room and Caraway’s desk and computer in the back
room.

27. The UCA was introduced to Caraway for the purpose of helping the UCA
receive investment property from the Dallas Land Bank. The UCA paid
Caraway inducements to help the UCA develop low income housing in 2016 and
2017 totaling approximately $50,000. This income does not appear to have been

fully reported by Caraway on his 2016 and 2017 tax returns.

Search Warrant Affidavit — Page 11
* Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 13 0f 39 PagelD 284

DWAINE CARAWAY

28. Caraway was a member of the Dallas City Council from 2011 through 2015. As
part of his duties, he voted on DCS matters and also had the ability to influence
decisions and vote on matters involving the Dallas Land Bank program.

City Council Income

29. As a council member, Caraway earned in the range of $13,362 to $34,003 a year.
The City of Dallas submitted Forms W-2 to Caraway in each of those years
showing the amount earned and the amount of federal taxes withheld, among other
things. Caraway filed returns for each of those years on the dates shown below

and with the City of Dallas yearly totals:

 

Year Date Filed City Council Wages
2012 4/15/2013 $34,003.00
2013 2/27/2017 $32,169.00
2014 2/27/2017 $31,940.00
2015 6/28/2017 $13,362.00

Dwaine Caraway Advertising and Consulting, LLC (DCAC)
Corporation and Income
30. Caraway registered DCAC as a Texas corporation on June 5, 2012, approximately
one month before he received his first payment from ELF. Caraway was listed as
the sole owner, president, and registered agent. The address listed was 1934
Argyle Avenue, Dallas, TX 75203. The State of Texas Certificate of Formation

Search Warrant Affidavit — Page 12
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 14of39 PagelD 285

document filing number is 801607286. Public records database inquiries reflect
Caraway as the registered agent as of 3/17/2017. Public records database also
reflect Dwaine Caraway as the president of the company as of 3/7/2018.

31.On July 2, 2012, Caraway opened two bank accounts at Wells Fargo. Wells
Fargo account #5789609715 (WF9715), titled Dwaine Caraway Advertising and
Consulting—Gold Business Services Package, was opened as the main account and
Wells Fargo account #9740447637 (WF7637), titled Dwaine Caraway Advertising
and Consulting—Business Market Rate Savings, was opened as a Business savings
account.

UNREPORTED INCOME TO CARAWAY

32. Caraway was paid over $400,000 during tax years 2012 through 2015, the vast
majority of which went into DCAC bank accounts. This money was in addition to
any remuneration he received as part of his Dallas City Council duties. All the
money paid to Caraway originated from Robert Leonard or one of his companies,
primarily FXS, which was awarded the DCS stop arm camera contract. Funds
were generally routed from FXS through ELF which according to Swartwood did
not have any other business purpose except to receive money from FXS and
forward it to Caraway and others at the request of Leonard.

33. Leonard has confirmed that the payments to Caraway were an inducement for

Caraway’s favorable official actions, including voting on DCS related matters on

Search Warrant Affidavit — Page 13
* Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 15of39 PagelD 286

the city council, and for Caraway to officially support any low income projects
that Leonard might pursue in the City of Dallas.

34. Financial records and other documentary evidence shows Caraway received at
least $105,000 in 2012, $206,700 in 2013, $87,000 in 2014, and $22,423 in 2015
from Leonard. This additional income paid to Caraway does not appear to have
been fully reported on Caraway’s personal income tax returns for tax years 2012
through 2015. Accordingly, there is probable cause to believe the scheme
violated 18 U.S.C. 26 §§ 7201 and 7206(1).

35. The Wells Fargo signature card lists Caraway as the sole owner of the relevant
accounts titled and the Employer Identification Number (EIN) as XX-XXXXXXX.
Additionally, the listed address for the accounts is 1934 Argyle Ave Dallas TX
75203, which is Caraway’s residence.

36. The initial deposit into WF9715 is a $15,000.00 check from ELF Investments LLC
in Kenwood, CA. The memo line reads “As Per Agreement”. As mentioned
above, ELF Investments is owned by Slater Swartwood, who is also an employee
of Busguard, LLC which was later renamed Force Multiplier Solutions (FXS).
Caraway was retained as a “business consultant” by ELF in an agreement signed
on July 1, 2012.

37. Caraway received regular monthly payments from ELF of $15,000.00 beginning
with that initial deposit through May 2014 when the relationship was terminated.

He also received $10,000.00 checks from ELF on July 17, 2012 and September

Search Warrant Affidavit — Page 14
* Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 16o0f39 PagelD 287

25, 2013. Caraway also received two additional payments from ELF of $5,000 on
July 17, 2014 and August 1, 2014. Additionally, Caraway also received other
payments and benefits from Leonard or FXS.

38. Leonard also paid for Caraway’s personal expenses on a few occasions. Notably
$3,000 for security cameras on March 20, 2013 and a flight to New Orleans for
$443.60 on April 5, 2013.

39. As a registered Texas corporation, DCAC is required to file corporate tax returns.
However, Caraway chose to report income received from DCAC as a Schedule C
sole proprietorship. This income should have been included as a schedule within
the US Individual Income Tax Return filed by Caraway. The chart below displays
the reported gross receipts reported on Caraway’s Form 1040 for the 2012 to 2015

tax years versus the approximate amount of actual income received.

Approximate
Sch C Gross Approximate
Recs Actual Income
Year oe Received Difference
— REPORTED ——— ———
RECEIPTS ——
——— RECEIPTS
2012 $60,000 $105,000 $45,000
2013 $180,000 $206,700 $26,700
2014 $0 $87,000 $87,000

Search Warrant Affidavit — Page 15
* Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 17 of 39 PagelD 288

2015 $0 $22,423 $22,423

Total $240,000 $424,566 $184,556

Corporate Expenses

40. For the years 2012 and 2013, Caraway filed a Schedule C, a Profit or Loss from
Business schedule with his US Individual Income Tax Returns claiming the gross
receipts identified above. Caraway also claimed expenses to offset the gross
receipts, which substantially lowered his taxable income. For the tax years 2014
and 2015, Caraway did not file a Schedule C nor any other form of business
income returns for income received from ELF, FXS, or Leonard, nor did he
otherwise claim any income from the same.

41.In 2012, Caraway claimed $38,827 as expenses, including $20,425 as a car and
truck expense, $5,052 as depreciation and 179 expenses, $1,329 for insurance,
$2,500 for office expense, $1,100 for supplies, $1,461 for meals and
entertainment, and $3,340 as other expenses. Additionally, Caraway claimed a
$17,739 expense for home business use relating to his Argyle Ave. residence.

In 2013, Caraway claimed $125,430.00 as expenses, as follows:

Advertising $10,870
Car and Truck $17,400
Commissions and Fees $ 5,500

Search Warrant Affidavit — Page 16
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 18 of 39 PagelD 289

Contract Labor $26,000
Insurance $ 2,180
Legal and Professional $ 6,500
Office $10,150

Rent -Other business property $4,800

Repairs/Maintenance $ 5,000
Supplies $ 4,780
Travel $ 7,200
Meals and Entertainment $ 3,750
Utilities $ 3,900
Other Expenses $17,400

42.In analyzing the bank accounts associated with DCAC, I reviewed all of the
deposits and withdrawals associated with both of the Wells Fargo accounts. The
accounts appear to be used as depository accounts with the only money deposited
being from ELF or transfers between the two accounts. A large portion of the
money is withdrawn in cash. There are a few payments to a Bank of America
home loan of $986.03, payments to Lone Star Property Mgmt, which appear to be
rent payments for his campaign HQ at 2217 Cedar Crest Blvd., four payments to

Andrea Griffin totaling $9,000, and a few miscellaneous personal expenses. In

Search Warrant Affidavit — Page 17
* Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 19 of 39 PagelD 290

general, DCAC, based on my training and experience, does not appear to be
incurring the normal and regular expenses of a legitimate business and business
account.
USE OF HOME AS BUSINESS

43. For the 2012 year, Caraway filed a Form 8829, Expenses for Business Use of
Your Home schedule, with his US Individual Income Tax Return. On this form,
Caraway claimed approximately 13% of his home solely for business use. During
this year all bank records and other business filings reflect the Argyle Ave. address
as the business address for DCAC. For 2013 tax return, Caraway listed his
campaign office located at 2217 Cedar Crest Blvd, Dallas, TX 75201, as the
business address of DCAC. Bank records for all subsequent years continue to list
the Argyle Ave. address as the business address, including the address provided on
his 2014 and 2015 tax returns that were filed in 2017.

USE OF CAMPAIGN HQ AS BUSINESS

44. The Caraway Campaign HQ at 2217 Cedar Crest Blvd., Dallas TX 75203 was also
listed as the business location on the 2013 Caraway US Individual Income Tax
Return on the Schedule C which lists the revenues and expenses for DCAC. 2013
is the last year that Caraway notes any type of business activity for DCAC on his
tax returns, even though he received at least $22,000 in 2015. Caraway met with
UC agents at the Cedar Crest address and took money intended to influence

decisions in which he participated in the Dallas City Council in the 2016 tax year.

Search Warrant Affidavit — Page 18
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 20 of 39 PagelD 291

45. Bank and other mailing’s records show the Caraway campaign accounts are
currently receiving statements at the 2217 Cedar Crest Blvd address. Utilities are
also active at the address and being paid by the Caraway Campaign.

IRS RECORD KEEPING REQUIREMENT

26 § 6001.

Notice or regulations requiring records, statements, and special returns

Every person liable for any tax imposed by this title, or for the collection thereof,
shall keep such records, render such statements, make such returns, and comply
with such rules and regulations as the Secretary may from time to time prescribe.
Whenever in the judgment of the Secretary it is necessary, he may require any
person, by notice served upon such person or by regulations, to make such returns,
render such statements, or keep such records, as the Secretary deems sufficient to
show whether or not such person is liable for tax under this title. The only records
which an employer shall be required to keep under this section in connection with
charged tips shall be charge receipts, records necessary to comply with section
6053(c), and copies of statements furnished by employees under section 6053(a).

The IRS has certain limits on how long a taxpayer may be audited. The general
limitations period is three years, and an audit for willful conduct is six years.
Therefore, since the 2012 return was filed in 2013 we can reasonably expect
business records for the tax year to be maintained through approximately 2019.
46. As this is a Schedule C business and not a corporation, records related to the
business transactions of DCAC cannot be obtained by any civil procedure
available to the IRS. Through my experience and other IRS Special Agents, it has
been found that when an individual is engaged in a scheme to evade income taxes
by under reporting business receipts, the books and records of the involved entity
are rarely, if ever, produced upon request. It is, therefore, reasonable to conclude,

and I do conclude, that the electronic data and all other records and documents

Search Warrant Affidavit — Page 19
* Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 210f39 PageID 292

maintained by Caraway related to DCAC, necessary to establish the criminal
offenses against the United States will be destroyed or otherwise placed beyond
the reach of the government if a warrant to search the residence/business premises
of Caraway and DCAC and seize those records is not executed.
CELL PHONES and COMPUTERS
47. Numerous interviews with Leonard, Swartwood, and Leonard’s office manager,
Elizabeth Michener confirm that Caraway communicated via email in receiving
payments from Leonard through Swartwood and his company, ELF.
48.In numerous interviews, Leonard has stated he had contact with Caraway from as
many as five different cell phone numbers. These cell phone communiques have
been through text exchanges as well as voice mails and telephone conversations.
DOCUMENTARY AND ELECTRONIC RECORDS
49. Based on my training, experience, knowledge and participation in this and other
criminal investigations, and accumulated knowledge from consultations with other
law enforcement agents, including debriefings and interviews of known offenders in
other cases, I also know and contend that the following traits are common practices of
offenders involved in various types of fraud:
a. fraud is frequently a continuing activity over months and years;

[NOTHING FURTHER ON THIS PAGE].

Search Warrant Affidavit — Page 20
* Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 22 of 39 PagelD 293

b. offenders who commit fraud keep records of their illegal activities
for a lengthy period of time, even extending substantially beyond the time
during which they actually produce, market, sell, and profit from their
crimes;
©. offenders who commit fraud commonly maintain hard copy and
computer files, books, records, receipts, notes, ledgers, journals, diaries,
address books, and other sundry materials, and papers relating to their
crimes; and
d. Offenders who commit fraud often possess evidence, fruits, and
instrumentalities relating to such offenses in their places of business,
including home offices.
50. I am aware that people frequently use both business and personal cellular
telephones (commonly called cell phones) for personal and professional
communications and purposes. Many cell phones have advanced capabilities,
including: internet browsing, text and e-mail, photography and video storage, notes,
calendars, and data file storage. I am also aware, through training and experience,
that people use cell phones to communicate with each other via voice, direct connect,
text message, and e-mail; store valuable data such as names, and addresses; obtain
and store directions and maps; search the Internet; and, capture audio, image, and

video files.

Search Warrant Affidavit — Page 21
~ Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 23 0f 39 PagelD 294

51. As described above, this affidavit is being submitted in support of search warrants
for records that might be found on the “PREMISES” of 1934 Argyle Drive, Dallas,
TX 75203, as described in Attachment A, and 2217 Cedar Crest Blvd, Dallas, TX
75203, as described in Attachment A-2, in whatever form they are found. One form
in which the records might be found is data stored on a computer’s hard drive
(including a server, such as an email server) or other storage media, including “‘smart”
cellular telephones. Thus, the warrant applied for would authorize the seizure of
electronic storage media or, potentially, the copying of electronically stored
information, all under Federal Rule of Criminal Procedure 41(e)(2)(B).

52. Upon arriving at the PREMISES, the agents will attempt to create an electronic
"image" of the computer. Generally speaking, imaging is the taking of a complete
electronic picture of the computer's data, including all hidden sectors and deleted files.
Imaging a computer permits the agents to obtain an exact copy of the computer's
stored data without actually seizing the computer hardware. The agents or qualified
computer experts will then conduct an off-site search for only the things described in
the warrant from the "mirror image" copy at a later date.

53.1 submit that if a computer or storage medium is found on the premises there is
probable cause to believe those records will be stored on that computer or storage
medium, for at least the following reasons:

é, Based on my knowledge, training, and experience, I know that

computer files or remnants of such files can be recovered months or even years

Search Warrant Affidavit — Page 22
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 24o0f 39 PagelD 295

after they have been downloaded onto a storage medium, deleted, or viewed via
the Internet. Electronic files downloaded to a storage medium can be stored for
years at little or no cost. Even when files have been deleted, they can be recovered
months or years later using forensic tools. This is so because when a person
“deletes” a file on a computer, the data contained in the file does not actually
disappear; rather, that data remains on the storage medium until it is overwritten
by new data.

f. Therefore, deleted files, or remnants of deleted files, may reside in
free space or slack space—that is, in space on the storage medium that is not
currently being used by an active file—for long periods of time before they are
overwritten. In addition, a computer’s operating system may also keep a record of
deleted data in a “swap” or “recovery” file.

g. Wholly apart from user-generated files, computer storage media—in
particular, computers’ internal hard drives—contain electronic evidence of how a
computer has been used, what it has been used for, and who has used it. To give a
few examples, this forensic evidence can take the form of operating system
configurations, artifacts from operating system or application operation, file
system data structures, and virtual memory “swap” or paging files. Computer
users typically do not erase or delete this evidence, because special software is
typically required for that task. However, it is technically possible to delete this

information.

Search Warrant Affidavit — Page 23
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 25o0f39 PagelD 296

h. Similarly, files that have been viewed via the Internet are sometimes

automatically downloaded into a temporary Internet directory or “cache.”
54. As further described in Attachment B, this application seeks permission to locate
not only computer files that might serve as direct evidence of the crimes described on
the warrant, but also for forensic electronic evidence that establishes how computers
were used, the purpose of their use, who used them, and when. There is probable
cause to believe that this forensic electronic evidence will be on any storage medium
in the etemises of 1934 Argyle Avenue, Dallas, TX 75203, as described in
Attachment A and 2217 Cedar Crest Blvd. Dallas, TX 75203, as described in

Attachment A-2 because:

1. Data on the storage medium can provide evidence of a file that was
once on the storage medium but has since been deleted or edited, or of a deleted
portion of a file (such as a paragraph that has been deleted from a word processing
file). Virtual memory paging systems can leave traces of information on the
storage medium that show what tasks and processes were recently active. Web
browsers, e-mail programs, and chat programs store configuration information on
the storage medium that can reveal information such as online nicknames and
passwords. Operating systems can record additional information, such as the
attachment of peripherals, the attachment of USB flash storage devices or other
external storage media, and the times the computer was in use. Computer file

systems can record information about the dates files were created and the sequence

Search Warrant Affidavit — Page 24
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 26 of 39 PagelD 297

in which they were created, although this information can later be falsified.

j. As explained herein, information stored within a computer and other
electronic storage media may provide crucial evidence of the “who, what, why,
when, where, and how” of the criminal conduct under investigation, thus enabling
the United States to establish and prove each element or alternatively, to exclude
the innocent from further suspicion. In my training and experience, information
stored within a computer or storage media (e.g., registry information,
communications, images and movies, transactional information, records of session
times and durations, internet history, and anti-virus, spyware, and malware
detection programs) can indicate who has used or controlled the computer or
storage media. This “user attribution” evidence is analogous to the search for
“indicia of occupancy” while executing a search warrant at a residence. The
existence or absence of anti-virus, spyware, and malware detection programs may
indicate whether the computer was remotely accessed, thus inculpating or
exculpating the computer owner. Further, computer and storage media activity
can indicate how and when the computer or storage media was accessed or used.
For example, as described herein, computers typically contain information that
log: computer user account session times and durations, computer activity
associated with user accounts, and electronic storage media that connected with

the computer and the IP addresses through which the computer accessed networks

and the internet. Such information allows investigators to understand the

Search Warrant Affidavit — Page 25
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 27 of 39 PagelD 298

chronological context of computer or electronic storage media access, use, and
events relating to the crime under investigation. Additionally, some information
stored within a computer or electronic storage media may provide crucial evidence
relating to the physical location of other evidence and the suspect. For example,
images stored on a computer may both show a particular location and have
geolocation information incorporated into its file data. Such file data typically
also contains information indicating when the file or image was created. The
existence of such image files, along with external device connection logs, may
also indicate the presence of additional electronic storage media (e.g., a digital
camera or cellular phone with an incorporated camera). The geographic and
timeline information described herein may either inculpate or exculpate the
computer user. Last, information stored within a computer may provide relevant
insight into the computer user’s state of mind as it relates to the offense under
investigation. For example, information within the computer may indicate the
owner’s motive and intent to commit a crime (e.g., internet searches indicating
criminal planning), or consciousness of guilt (e.g., running a “wiping” program to
destroy evidence on the computer or password protecting/encrypting such
evidence in an effort to conceal it from law enforcement).

[NOTHING FURTHER ON THIS PAGE].

Search Warrant Affidavit — Page 26
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 28 of 39 PagelD 299

k. A person with appropriate familiarity with how a computer works
can, after examining this forensic evidence in its proper context, draw conclusions
about how computers were used, the purpose of their use, who used them, and
when.

1. The process of identifying the exact files, blocks, registry entries,
logs, or other forms of forensic evidence on storage medium that are necessary to
draw an accurate conclusion is a dynamic process. While it is possible to specify
in advance the records to be sought, computer evidence is not always data that can
be merely reviewed by a review team and passed along to investigators. Whether
data stored on a computer is evidence may depend on other information stored on
the computer and the application of knowledge about how a computer behaves.
Therefore, contextual information necessary to understand other evidence also
falls within the scope of the warrant.

m. Further, in finding evidence of how a computer was used, the
purpose of its use, who used it, and when, sometimes it is necessary to establish
that a particular thing is not present on a storage medium. For example, the
presence or absence of counter-forensic programs or anti-virus programs (and
associated data) may be relevant to establishing the user’s intent.

55.In most cases, a thorough search of a premises for information that might be stored
on storage media often requires the seizure of the physical storage media and later off-

site review consistent with the warrant. In lieu of removing storage media from the

Search Warrant Affidavit — Page 27
~ Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 29 of 39 PagelD 300

premises, it is sometimes possible to make an image copy of storage media.
Generally speaking, imaging is the taking of a complete electronic picture of the
computer’s data, including all hidden sectors and deleted files. Either seizure or
imaging is often necessary to ensure the accuracy and completeness of data recorded
on the storage media, and to prevent the loss of the data either from accidental or
intentional destruction. This is true because of the following:

n. As noted above, not all evidence takes the form of documents and
files that can be easily viewed on site. Analyzing evidence of how a computer has
been used, what it has been used for, and who has used it requires considerable
time, and taking that much time on premises could be unreasonable. As explained
above, because the warrant calls for forensic electronic evidence, it is exceedingly
likely that it will be necessary to thoroughly examine storage media to obtain
evidence. Storage media can store a large volume of information. Reviewing that
information for things described in the warrant can take weeks or months,
depending on the volume of data stored, and would be impractical and invasive to
attempt on-site.

oO. Computers can be configured in several different ways, featuring a
variety of different operating systems, application software, and configurations.
Therefore, searching them sometimes requires tools or knowledge that might not
be present on the search site. The vast array of computer hardware and software

available makes it difficult to know before a search what tools or knowledge will

Search Warrant Affidavit — Page 28
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 300f 39 PagelD 301

be required to analyze the system and its data at the search location. However,
taking the storage media off-site and reviewing it in a controlled environment will
allow its examination with the proper tools and knowledge.

p. Records sought under this warrant could be stored in a variety of
storage media formats that may require off-site reviewing with specialized
forensic tools.

56. Based on the foregoing, and consistent with Federal Rule of Criminal Procedure
41(e) (2) (B), the warrant I am applying for would permit seizing, imaging, or
otherwise copying storage media that reasonably appear to contain some or all of the
evidence described in the warrant, and would authorize a later review of the media or
information consistent with the warrant. The later review may require techniques,
including but not limited to computer-assisted scans of the entire medium, that might
expose many parts of a hard drive to human inspection in order to determine whether
it is evidence described by the warrant.

CONCLUSION
57. Caraway was paid over $400,000 from Leonard, FXS, or associated entities and
individuals during tax years 2012 through 2016. Caraway received at least $105,000
in 2012, $206,700 in 2013, $87,000 in 2014, $22,423 in 2015, and $25,000 in 2016.
The income does not appear to have been fully reported on Caraway’s tax returns for
tax years 2012 through 2016. Although we have good evidence to show the amount

of income, the expenses reported on the 2012 and 2013 appear dubious at best.

Search Warrant Affidavit — Page 29
* Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 31 o0f39 PagelD 302

Additionally, there may be evidence of expenses for the 2014 and 2015 years in
which DCAC income was entirely omitted. In addition, Caraway received over
$50,000 in UC payments in 2016 and 2017, which amounts were not fully reported
on his tax returns. Based on my training, experience, and the information in the
preceding paragraphs, there is probable cause to believe the evidence, fruits, and
instrumentalities of violations of 26 U.S.C. §§ 7201 and 7206 (1) are located at the
premises of 1934 Argyle Drive, Dallas, TX 75203, as described in Attachment A,
and 2217 Cedar Crest Blvd., Dallas, TX 75203 as described in Attachment A-2.
Your affiant, therefore, respectfully, requests that the attached warrant be issued

authorizing the search and seizure of the item listed in attachment B.

 

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Alan Hampton
Special Agent
IRS Criminal Investigation Division

 

Search Warrant Affidavit — Page 30
* Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 32 of 39 PagelD 303

ATTACHMENT A-2

 
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 33 of 39 PagelD 304

ATTACHMENT B
Items to be Seized
Based on the information contained in this affidavit, I respectfully submit that
there is probable cause to seize the following items which constitute evidence, fruits, and
instrumentalities of 26, United States Code, § 7201 and 7206(1):
1. The following records are to be seized;
2. | For the entities Caraway Advertising and Consulting LLC, and the individuals

- Dwaine Caraway for the time period January 2012 to present:

A. Upon arriving at the PREMISES, the agents will attempt to create an electronic
"image" of the computer. Generally speaking, imaging is the taking of a complete
electronic picture of the computer's data, including all hidden sectors and deleted files.
Imaging a computer permits the agents to obtain an exact copy of the computer's stored

- data without actually seizing the computer hardware. The agents or qualified computer

experts will then conduct an off-site search for only the things described in the warrant

from the "mirror image" copy at a later date.

B. Records, including electronic communication (1.e., e-mail, text message), concerning.
or relating to any promise to pay a monetary obligation, including but not limited to open
or closed loans, notes, promissory notes, mortgages, mortgage notes, ee
instruments, letters of credit or any other credit facilities, deeds of trust or other security

instruments, loan agreements, participation agreements, loan applications (whether

Attachment B — Page 1
* Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 34o0f 39 PagelD 305

pending, accepted, or rejected), sonespendense, checks or deposit items representing the
disbursement of principal, collateral ledgers, guarantees, cash flow analysis and -
projection, interest rate analysis, blended rate analysis, pro formas, loan narratives,
appraisals, absorptions, audits, certifications, and loan assignments, modifications,

amendments, or terminations;

C. Records, including electronic communication (i.e., e-mail, text message) relating to or
concerning invoices, receipts, statements, cancelled checks, general ledgers, trial
balances, spreadsheets, eooespondence with creditors, credit card transactions, payroll
transactions, loans, cash flow analysis, cash flow projection, pro formas, loan narratives,
appraisals, collateral, financial analysis, absorptions, audits, certifications, and drafts,

filings, and correspondence with the United States Securities and Exchange Commission

(SEC);

D. Memoranda, notes, files, videotapes, audiotapes, agendas, and other documents,
including electronic communication (i.e., e-mail, text message), relating to any meeting

of Sorrells, Leonard, and government officials relating to Dallas County Schools or Force

Multiplier Solutions.

E. Records, including electronic communication (i.e., e-mail, text message), relating to or

concerning any contracts involving the above-listed entities and third party brokers;

Attachment B — Page 2
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 35 of 39 PagelD 306

F. Personnel files relating to or concerning any of the executives, officers, employees,

and agents of Dallas County Schools and Force Multiplier Solutions.

G. Records, including electronic communication (i.e., e-mail, text message), relating to or
concerning any a or closed bank account (whether savings, checking, or other type of
account), such records to include periodic account statements, corporate resolutions,
partnership agreements, customer ledgers, income tax returns, deposit tickets, cancelled

checks, signature cards, account opening documents, and any and all correspondence;

H. Other bank records, including money orders, cashier’s checks, and drafts, with
application or requisition forms, certified checks, wire transfers, insurance records, safe
| deposit box records, or copies of any negotiable instruments cashed or paid by the bank
without entry to any depository account.
I. Memoranda, notes, files, videotapes, audiotapes, agendas, and other documents,
including electronic communication (i.e., e-mail, text message), relating to ELF
Investments.
J. Computers and computer related evidence, as follows:
a. Computer storage media and related hardware, including any computer hard
drives, floppy disks, CDs or other electronic storage media including “smart”

cellular telephones in which any files and records to be searched for may by

Attachment B — Page 3
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 36 of 39 PagelD 307

located. The agents executing this search warrant are authorized to seize,
where necessary, the computer system’s CPU, input/output (“I/O”) or
peripheral devices, related software, documentation, and data security devices
(including passwords) so that a qualified computer expert can accurately
reproduce the system set-up and retrieve the system’s data in a laboratory or

other controlled environment;! and

wv

b. Computer software, meaning any and all instructions or programs stored either
in the form of hard copy or in electronic or magnetic media that are capable of
being interpreted by a computer or related component. The items to be seized
include operating systems, application software, utility programs, compilers,
interpreters, and other programs or software used to communicate with
computer hardware or peripherals either directly or indirectly via telephone

lines, radio, or other means of transmission.

K. For any computer or storage medium whose seizure is otherwise authorized by this
- warrant, and any computer or storage medium that contains or in which is stored

records or information that is otherwise called for by this warrant (hereinafter,

“COMPUTER’”):

 

‘Tf, after inspecting the I/O devices, software, documentation, and data security devices, the
computer analyst determines that these items are no longer necessary to retrieve and preserve
evidence, they will be returned within a reasonable time.

Attachment B — Page 4
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 37 of 39 PagelD 308

a. evidence of who used, owned, or controlled the COMPUTER at the time
the things described in this warrant were created, edited, or deleted, such as
logs, registry entries, configuration files, saved usernames and passwords,
documents, browsing history, user profiles, email, email contacts, “chat,”

instant messaging logs, photographs, and correspondence;

b. evidence of software that would allow others to control the COMPUTER,
such as viruses, Trojan horses, and other forms of malicious software, as
well as evidence of the presence or absence of security software designed to

detect malicious software;

c. evidence of the lack of such malicious software;

d. evidence indicating how and when the computer was accessed or used to
determine the chronological context of computer access, use, and events

relating to crime under investigation and to the computer user;

e. evidence indicating the computer user’s state of mind as it relates to the

crime under investigation;

f. evidence of the attachment to the COMPUTER of other storage devices or

Attachment B — Page 5
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 38 of 39 PagelD 309
similar containers for electronic evidence;

g. evidence of counter-forensic programs (and associated data) that are

designed to eliminate data from the COMPUTER;
h. evidence of the times the COMPUTER was used;

i. passwords, encryption keys, and other access devices that may be necessary

to access the COMPUTER;

j. documentation and manuals that may be necessary to access the

COMPUTER or to conduct a forensic examination of the COMPUTER;

k. records of or information about Internet Protocol addresses used by the

COMPUTER;

l. records of or information about the COMPUTER’s Internet activity,
including firewall logs, caches, browser history and cookies, “bookmarked”
or “favorite” web pages, search terms that the user entered into any Internet

search engine, and records of user-typed web addresses; and

Attachment B — Page 6
Case 3:18-cr-00409-M Document 33 Filed 08/29/19 Page 39 of 39 PagelD 310

m. contextual information necessary to understand the evidence described in

this attachment. .

Attachment B — Page 7
